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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION
                                                        U. S. DISTRICT COURT
                                                       Southern District of Ga.
                                                           Plied In Office
UNITED STATES OF AMERICA,                                                    •OJI
               Plaintiff,
                                                              Deputy
                                        4:08CR315
V.



STAGEY GOLDEN,

                Defendant.


                                  O R D E R


        This case is before the Court for a preliminary hearing
pursuant to Rule 32.1, Fed. R. Grim. P., to determine whether there
is probable cause to hold the defendant for a revocation hearing.
 Based on the evidence presented at the hearing, the Court finds
 that there is probable cause to belxeve that the defenda
 violated conditions of his supervised release and, therefore, that
 he should be held for a revocation hearing before the Court holding
 jurisdiction over this matter.
      Based on the evidence presented at the hearing, the Court
 finds that the probationer is not likely to flee or pose a danger
 to the community if released pending further proceedings. Fed. R.
 Crim. P. 46(c); 18 U.S.C. 3143. IT IS HEREBY ORDERED that the
 defendant be released on a $20,000.00 bond secured by 50% pending
     the revocation hearing.

          SO ORDERED this /?^day of October, 2017.

                                     UNITED        MAGISTRATE JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA
